IN 'I`HE UNITED STATES DIS'I`RICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

 

 

UNrTEI) sTATEs oF AMERICA, lNDICTMENT
Plaimiff, cRerNAL No. 17- 435 (J?§)
v. cRIMrNAL VroLATIoN:
13 U.s.c. § 641
CARMEN MEDINA-sERRANo
Defendant.
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INDICTMENT '_;;2
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THE GRAND JURY cHARGEs= .E.>
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At all times relevant to this Indictment:

l. The United States Department of Veterans At`fairs (hereinaiter “VA”) was a cabinet
level department of the Federal government whose mission Was to care for Unitecl
States military veterans and their dependentsl ln furtherance of this mission, VA ran
the largest hospital system in the United States.

2. ln San Juan, Puerto Rico, the VA Medical Center (hereinaiter “VAMC”) was owned
and operated by VA utilizing federal funds.

3. The VAMC included an iri-patient and out-patient pharmacy which provided
prescription medications to qualified health plan beneficiaries, including veterans of

the United States military.

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. From in or about October 2012 to in or about July 2016, Defendant CARMEN
MEDINA-SERRANO was an out-patient pharmacy procurement technician for the
VAMC San Juan Out-Patient Phannacy.

. As a pharmacy procurement technician, Defendant CARMEN MEDINA~SERRANO
had access to the electronic system for ordering prescription lnedications, placed orders
for prescription medications, and stocked the out-patient pharmacy with medications,
including Insulin Lispro 100, insulin Lispro 75/25, and Insulin Lantus Glargine.

. Insulin Lispro 100, Insulin Lispro 75!25, and Insulin Lantus Glargine were prescription
drugs regulated by the Federal Drug Administration (hereinafter “FDA”) and used to
treat individuals with medical conditions, including diabetes.

. Prescription medications in the possession and custody of the VAMC San Juan Out-

Patient Pharmacy were property of the United States government

COUNT ONE
(Thei`t of Government Proper_ty)

18 U.S.C. §§ 641

. Paragraphs 1-7 are re-aiieged as if set forth fully herein.

. From in or about October 2012, up to and including in or about July 2016, in the District
of Puerto Rico and within the jurisdiction of this Court,

CARMEN MEDINA-SERRANO

the defendant herein, willfully and knowingly did steal, purloin, and convert to the use
of another a thing of value of the United States in an amount over $l,OOO, that is
prescription medications belonging to the VAMC Out-Patient Pharmacy in San Juan,

Puerto Rico.
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l(). All in violation of Title 18, United States Code, Section 641.

TRUE BILL

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FOREPERSON

Date: rp"ll r\-\QC) ij '

RosA EMILIA RoDRiGUEzA/ELEZ
United States Attol'ney

  
  

 

 
   
 

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nited States Attorney
, Criminal Division

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Assist"a tUnited States A§torne
Deputy Chief,‘i?mancial Fraud &
Corruption Unit

 

eth A. Erbe
Assistant United States Attorney

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